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                       IN THE UNITED STATES DISTRICT COURT
                        FOR THE SOUTHERN DISTRICT OF OHIO
                                 EASTERN DIVISION

JANE DOE, et al.,

                      Plaintiffs,

       v.                                           Civil Action 2:23-cv-02704
                                                    Judge Edmund A. Sargus
                                                    Magistrate Judge Kimberly A. Jolson


TEAYS VALLEY LOCAL SCHOOL
BOARD OF EDUCATION, et al.,

                      Defendants.


                                            ORDER

       On August 6, 2024, Defendants requested an amendment to the case schedule. (Doc. 28).

In particular, Defendants had concerns about meeting the August 16, 2024, deadline to submit

expert reports. They cited scheduled expert depositions after that date. (Doc. 29). They also

notified the Court of an upcoming motion for a Rule 35 mental examination of Plaintiff John Doe.

(Id.). The Court granted the Motion. (Doc. 29). Subsequently, Plaintiffs filed a response in

opposition to the Motion.      (Doc. 30).   Plaintiffs alleged that nefarious strategy underlies

Defendants’ Motion and argue the case schedule should not be extended because: (1) Defendants

previously agreed to a revised case schedule that included the August 16 date; (2) Defendants

should have considered their wish to depose Plaintiffs’ experts before producing their own reports

earlier; (3) Defendants should have scheduled depositions with Plaintiffs’ experts sooner; and (4)

Defendants’ desire to complete a medical examination of Plaintiff John Doe is unreasonable both

in time and in form. (See generally id.).
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       Because Plaintiffs’ opposition was filed after the Court granted Defendants’ motion, the

Court construes it as a request for reconsideration. The Federal Rules of Civil Procedure do not

explicitly address requests or motions for reconsideration, but the authority for a district court to

hear such issues is found in both the common law and in Rule 54(b) of the Federal Rules of Civil

Procedure. Rodriguez v. Tenn. Laborers Health & Welfare Fund, 89 Fed. App’x. 949, 959 (6th

Cir. 2004). As to the Motion for Extension of time, Federal Rule of Civil Procedure 16(b)(4)

provides that a court may modify a scheduling order for good cause. “[T]he touchstone of the

good cause inquiry under Rule 16(b) is whether the moving party acted diligently in attempting to

meet the deadline set forth in the pretrial order.” Permasteelisa CS Corp. v. Airolite Co., LLC,

No. 2:06-cv-0569, 2007 WL 1683668, at *2 (S.D. Ohio June 8, 2007). Importantly, the decision

to modify a scheduling order is within the Court’s discretion. Leary v. Daeschner, 349 F.3d 888,

909 (6th Cir. 2003).

       Simply put, the circumstances presented here warrant a short extension. The Court does

not view Defendants’ request as motivated by a desire to delay these proceedings or as completely

due to dilatory efforts on their part. Plaintiffs argue that Defendants should have planned discovery

as to meet the agreed-upon deadlines. And they should have communicated their desire to depose

Plaintiffs’ experts prior to producing their own expert reports to ensure this happened. (Doc. 30

at 4–5). But Defendants say they only recently received the deposition transcripts of Plaintiffs

John and Jane Doe, and the depositions of Plaintiffs’ experts were only recently confirmed to take

place in the two weeks following the August 16 deadline. (Doc. 28 at 2). So, it appears, as

Defendants contend, “issues of timing and scheduling of the discovery to date” have played a hand

in their request for an extension. (Dox. 28 at 3). At base, while Defendants may not have been as

diligent in organizing discovery or communicating with Plaintiffs as Plaintiffs wish, they have



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been diligent enough for the purpose of their modest request. More still, no trial date has been set

in this case—only Defendants’ expert report deadline, the discovery deadline, and the dispositive

motions deadlines are impacted. So, any delay is relatively minor.

       Additionally, Defendants intend to file a Rule 35 motion for a mental examination

imminently. Plaintiffs argue the Court should not grant an extension on this ground because

Defendants purposefully delayed asking for this mental examination and an examination at this

juncture will prejudice them. Specifically, they allege “the further out Defendants can push this

matter, the older Plaintiff John Doe will look in front of a jury.” (Doc. 30 at 6). While the Court

acknowledges Plaintiffs concerns of prejudice, a short delay is not unreasonable on balance.

Notably, the parties’ briefing and the Court’s consideration of the Rule 35 motion will take time

and likely push past the current case schedule deadlines. And while Plaintiffs also seemingly

oppose the timing and the form of the examination itself, those issues are better dealt with on the

Rule 35 motion than here. (Doc. 30 at 5–8).

       On balance, good cause exists for a short extension to the case schedule. Accordingly, the

Court declines to reconsider its grant of Defendants’ Motion. The case schedule is amended as

follows:

              Defendants’ expert reports                    September 16, 2024

              All discovery                                 November 14, 2024

              Dispositive motions                           December 16, 2024

       Additionally, Defendants are ORDERED to file their anticipated FRCP Rule 35 Motion

on or before August 12, 2024. The Court intends to expedite briefing on that matter.




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      IT IS SO ORDERED.

Date: August 8, 2024                       /s/ Kimberly A. Jolson
                                           KIMBERLY A. JOLSON
                                           UNITED STATES MAGISTRATE JUDGE




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